                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

UNITED STATES OF AMERICA                      )
                                              ) CASE NO.: 2:19-CR-00010
                                              ) HONORABLE WILLIAM L. CAMPBELL
                                              )
DR. GILBERT GHEARING                          )


  DEFENDANT’S RESPONSE TO THE GOVERNMENT’S NOTICE OF PROPOSED
  TRIAL DATES AND REQUEST FOR TRIAL IN COOKEVILLE, TN (D.E. 179, 180)

       COMES NOW, the Defendant, Dr. Gilbert Ghearing, by and through his counsel, Ron

Chapman, II and Meggan Bess Sullivan, and files this Response to Government’s Request for Trial

in Cookeville (D.E. 180) and states as follows:

       The Defendant is opposed to trying this case in Cookeville, TN for the following reasons:

   1. The status quo.

   Prior to the most recent request and to the defense’s best recollection over the past three to four

years, the Government has attempted to try the case in Cookeville, TN to which this Court denied

that request. Regardless if that recollection is accurate, the last time this case was set, the

Government did not oppose the trial be conducted in Nashville days before the trial was to begin.

Additionally, the Government has not communicated that desire in the last several months to the

defense or the Court including at the most recent status conference held days before their request.

There is nothing contained in the Superseding Indictment which creates different circumstances

from the trial of the Indictment. The Defendant is not burdened by traveling to Nashville, TN and

wishes the status quo, prior to the superseding indictment, be maintained by this Court.

   2. The evidence in this trial requires the best technology available to ensure a smooth

trial process and the jury’s understanding of the evidence.




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       In addition, the evidentiary support for both the Government and the defense cases is

heavily laden with documents including medical records and financial records. The technology in

the Nashville courthouse is more equipped to handle the evidence in this trial. In addition, the jury

will be less burdened and confused during the trial by the parties’ utilization of the technology in

the Nashville courthouse. The Cookeville courthouse has a single projection screen for hundreds,

if not thousands, of pages of documents.

   3. The Government’s own publicity of this case over the last three or four years tainted

the jury pool in Cookeville, TN, makes picking an impartial jury much for difficult and calls

into question the Government’s motive for requesting a change in location.

       The jury pool in Cookeville is tainted by the publicity surrounding this case. Journalist

Geraldo Rivera himself was present in Celina, TN at the execution of the search warrants of the

companion Dale Hallow Pharmacy and Xpress pharmacy cases. Both of those companion cases

have arguably many of the same witnesses and are being tried in Nashville, TN.

   4. Moving this case to Cookeville creates both logistical and personal burdens on

the defense counsel Dr. Ghearing has chosen.

       While the Government undoubtedly has office space very close to the courthouse in

Cookeville, TN, the defense is not afforded that luxury. The defense would be required to operate

out of either hotel rooms for a month or be tasked with the responsibility of leasing office space

for a month. Currently, defense counsel’s office space is approximately two (2) blocks from the

Nashville courthouse. The defense has already incurred inordinate expense due to the delays of the

Government. Twice now the defense has prepared this case twice within weeks of trial or days of

trial and at significant additional cost to the Defendant. In addition, trying a case in Cookeville for




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a month will force at least one single-parent attorney, if not all attorneys and the Court, to be away

from their minor children for an unnecessary reason and creates significant family hardships.

        WHEREFORE, the Defendant requests the Court maintain all matters including the

location of the trial as previously decided and discussed at the pretrial conference.


DATE:          February 3, 2023        RESPECTFULLY SUBMITTED,

                                       CHAPMAN LAW GROUP
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                                  CERTIFICATE OF SERVICE

        I hereby certify that this Response has been filed on Assistant United States Attorneys Sara

Bogni and Juliet Aldridge via electronic mail and the Court’s CM/ECF system on February 3,

2023.

                                               /s/ Meggan B. Sullivan




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